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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 TQ DELTA, LLC,                                      §
      Plaintiff,                                     §
                                                     §           JURY TRIAL DEMANDED
 v.                                                  §
                                                     §
 COMMSCOPE HOLDING COMPANY,                          §
 INC., COMMSCOPE INC., ARRIS US                      §
 HOLDINGS, INC., ARRIS SOLUTIONS,                    §
 INC., ARRIS TECHNOLOGY, INC., and                   §
                                                                 Civil Action 2:21-cv-310-JRG
 ARRIS ENTERPRISES, LLC,                             §
        Defendants.                                  §
                                                     §
                                                     §


  PLAINTIFF TQ DELTA, LLC’S OPPOSED MOTION FOR ISSUANCE OF WRIT OF
             EXECUTION AGAINST COMMSCOPE DEFENDANTS



         Pursuant to Rule 69 of the Federal Rules of Civil Procedure, Plaintiff TQ Delta, LLC.

 (“Plaintiff” or “TQ Delta”), files this Motion for Issuance of Writ of Execution against Defendants

 CommScope Holding Company, Inc., CommScope, Inc., Arris US Holdings, Inc., Arris Solutions,

 Inc., Arris Technology, Inc., and Arris Enterprises, LLC (collectively, “CommScope” or

 “Defendants”). Plaintiff seeks issuance of a writ of execution authorizing the U.S. Marshal to seize

 and take possession of any funds, assets, property, or credits in Defendants’ possession in full or

 partial satisfaction of the Final Judgment entered on May 3, 2023 (“Judgment”; Dkt. No. 513)

 against Defendants. As of the instant filing date, April 9, 2024, the amount due and owing to satisfy

 the Final Judgment consists of:

         Damages Award: $11,125,000.00 as a reasonable royalty for Defendants’ infringement;

         Costs: $246,208.25 in Plaintiff’s costs (Dkt. Nos. 513, 535);



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         Pre-judgment Interest: $4,417,597.25 in prejudgment interest, calculated at the 5-year

         U.S. Treasury Bill rate, compounded quarterly, from the date of infringement, November

         18, 2008, through the date of entry of the Final Judgment, May 3, 2023. (Ex. A,

         McAndrews Declaration at 2-4); and

         Post-Judgment Interest1: $700,313.55 in post-judgment interest, pursuant to 28 U.S.C. §

         1961, calculated from the date of entry of the Final Judgment, May 3, 2023, until the instant

         filing date, April 9, 2024, of this motion at the rate of 4.72 percent per annum. Pursuant to

         28 U.S.C. § 1961(b), annual compounding of interest will accrue on any unsatisfied

         judgment upon the first and subsequent yearly anniversaries of the May 3, 2023 Judgment.2

         (Ex. A at 4-6). Thus, post-judgment interest, at the rate of 4.72 percent per annum, will

         accrue on any unsatisfied judgment in the amount of $2,041.73 per day for the May 3, 2023

         to May 3, 2024 period and in the amount of $2,138.10 per day for the May 4, 2024 to May

         3, 2025 period.

         In sum, the Total Amount due and owing, as of the instant filing date, April 9, 2024, is

 $16,489,119.05 U.S. Dollars. (Ex. A at 6).

         The Defendants have not paid any part of the Judgment, have not sought to stay execution

 of the Judgment, and have not posted a supersedeas bond sufficient to secure the Judgment that is

 necessary to obtain a stay of execution of the Judgment. Defendants have been persistently

 unresponsive to Plaintiff’s efforts to confer regarding a bond. Instead, Defendants have attempted

 to shift their liability for the Judgment onto non-party Vantiva, S.A. (“Vantiva”) by telling Plaintiff



 1
   Post-judgment interest is “applicable to all sums awarded here . . . from the date of entry of this
 Judgment until paid.” (Dkt No. 513 at 3).
 2
   See 28 U.S. § 1961(b) (“Interest shall be computed daily to the date of payment except as
 provided in section 2516(b) of this title and section 1304(b) of title 31, and shall be compounded
 annually.”).


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 that Vantiva should be responsible for the Judgment while doing nothing to ensure that Vantiva

 takes on that responsibility or does so in a way that would satisfy Plaintiff or this Court.

 Accordingly, Plaintiff respectfully requests that the Court grant its motion.

                                                I. FACTS

 A.      The Judgment

         On May 3, 2023, after a jury trial3, this Court entered Final Judgment in TQ Delta’s favor

 against CommScope Holding Company, Inc., CommScope, Inc., Arris US Holdings, Inc., Arris

 Solutions, Inc., Arris Technology, Inc., and Arris Enterprises, LLC, in the amount of

 $11,125,000.00 U.S. Dollars as a reasonable royalty for Defendants’ infringement, to be paid in a

 onetime lump sum (Dkt. No. 513). TQ Delta was also awarded costs, prejudgment interest and

 post-judgment interest. Id. at 3. On May 31, 2023, pursuant to Plaintiff’s Notice Regarding Agreed

 Bill of Costs (Dkt. No. 524), the Court ordered that Plaintiff shall recover from Defendants costs

 in the amount of $246,208.25. (Dkt. No. 535).

         Pursuant to Texas law, the Judgment is still valid and not dormant because it has been more




 3
   On August 13, 2021, TQ Delta, LLC filed its complaint for patent infringement against
 Defendants asserting infringement of nine U.S. patents, specifically: United States Patent Nos.
 7,570,686 (the “’686 Patent”), 7,453,881 (the “’881 Patent”), 7,844,882 (the “’882 Patent”),
 8,276,048 (the “’048 Patent”), 8,090,008 (the “’008 Patent”), and 8,462,835 (the “’835 Patent”),
 8,468,411 (the “’411 Patent”), 9,154,354 (the “’354 Patent”), and 10,833,809 (the “’809 Patent”)
 (Dkt. No. 1).
         On March 17, 2023, a jury trial commenced in this case on seven of Plaintiff’s Asserted
 Patents. On March 24, 2023, the jury returned its unanimous verdict finding that the Defendants
 infringed Claim 17 of the ’881 Patent, Claim 5 of the ’048 Patent, Claim 18 of the ’411 Patent,
 and Claim 10 of the ’354 Patent; that CommScope did not infringe Claim 14 of the ’008 Patent;
 that CommScope’s infringement of the Infringed Claims was willful; that Claim 36 of the ’686
 Patent and Claim 10 of the ’835 Patent are invalid; that Claim 14 of the ’008 Patent and Claim 5
 of the ’048 Patent are not invalid; that TQ Delta did not breach its contractual duty to grant licenses
 regarding its Standard Essential Patents to CommScope on FRAND terms; and awarded damages
 to TQ Delta in the sum of $11,125,000.00 U.S. Dollars as a reasonable royalty for CommScope’s
 infringement, to be paid in a onetime lump sum. (Dkt. Nos. 508, 513).


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 than 30 days since the Judgment was entered by the Court and less than ten years since entry of

 judgment. See Tex. Civ. Prac. & Rem. Code § 34.001(a).

 C.      Defendants have neither paid the Judgment nor sought to stay execution of Judgment.

         As of the instant filing date, April 9, 2024, it has been 343 days since the entry of the

 Judgment, 55 days since entry of the orders disposing of the last of the post-trial motions, and

 Defendants have failed to pay the Judgment or seek a stay of execution of said Judgment.

         On March 8, 2024, Plaintiff sent a letter to Defendants requesting payment of the Judgment.

 (Exh. B). On March 15, 2024, the Defendants informed Plaintiff that it would not agree to pay the

 Judgment and asserted, erroneously, that “[s]hould either TQ Delta or CommScope file such a

 notice [of appeal], execution of judgment will almost certainly be stayed.” (Ex. C). Defendants did

 not express any intention to seek a court-approved bond necessary to stay execution.

         The Defendants also appeared to attempt to shift their liability for the Judgment onto non-

 party Vantiva S.A. (“Vantiva”), which was never involved in the above-captioned case. (Ex. C at

 fn. 1 - “Although this letter makes reference to CommScope, ownership of the Home Networks

 division of CommScope responsible for the accused products and liability associated with this case

 transferred to Vantiva S.A. on January 9, 2024.”). Their attempt to shift liability to Vantiva is

 contrary to law – each and all of the named Defendants are responsible for the full amount of the

 Judgment. It is also contrary to Defendants’ representation in a December 13, 2023 letter in which

 they stated, “And I can confirm that the pending [CommScope-Vantiva] transaction is in no way

 an attempt to prevent recovery of the Judgment and that Vantiva was previously made aware of

 the litigation and the Judgment.”4 (Ex. E).



 4
   Defendants’ December 13, 2023 letter was in response to Plaintiff’s December 4, 2023 letter
 wherein Plaintiff stated it was “very concerned that this purported sale and its timing are
 substantially motivated by CommScope’s desire to avoid or limit its liability arising from the


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         To date, the Defendants have not sought a stay of execution of the Judgment. And Vantiva

 has been silent about its willingness, if any, to satisfy the Defendants’ liability for the Judgment.

 D.      Defendants have not posted a bond

         The Defendants have not sought the Court’s approval of a supersedeas bond sufficient to

 secure the Judgment in an attempt to stay execution of the Judgment. They have also been

 persistently unresponsive to Plaintiff’s efforts to meet and confer regarding a bond.

         On March 15, 2024, the Plaintiff filed a Notice of Appeal (Dkt No. 573) and so did the

 Defendants (Dkt. No. 575). Later that day, Plaintiff emailed the Defendants asking if they intended

 to post a supersedeas bond, reminded them that a stay does not result from filing a notice of appeal

 if they do not post a bond, and requested a response to the email. (Ex. D).

         The 30-day automatic stay period that is prescribed by Fed. R. Civ. P. 62(a) lapsed on

 March 18, 2024.

         On March 22, 2024, because Defendants had not responded, Plaintiff emailed the

 Defendants requesting a meet and confer regarding the Defendants’ failure to make payment on

 the Judgment or secure a supersedeas bond and informing them that Plaintiff intended to seek relief

 from the Court, including a Writ of Execution. (Ex. D).

         On March 26, 2024, Plaintiff’s counsel called Defendants’ counsel, Mr. Ross Barton of




 March 24, 2023 jury verdict and judgment in favor of TQ Delta” and asked Defendants to “confirm
 in writing that no aspect of the CommScope-Vantiva transaction and actions related to it will in
 any way jeopardize CommScope’s ability to pay the TQ Delta Judgment and that CommScope
 will not attempt to avoid or limit its liability under that judgment through the CommScope-Vantiva
 transaction or any other purported business transaction involving another party.” (Ex. F).
          On December 19, 2023, Plaintiff, responding via letter to Defendants’ December 13, 2023
 letter, stated, “TQ Delta will defer for now, without prejudice, its discovery request given your
 representation on behalf of CommScope that ‘the pending transaction is in no way an attempt to
 prevent recovery of the Judgment, and that Vantiva was previously made aware of the litigation
 and the Judgment.’” (Ex. G).


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 Alston & Bird, who stated that he understood from speaking with another of Defendants’ counsel,

 Mr. Brett Schuman5 of Goodwin Procter LLP, that non-party Vantiva was working on arranging

 a supersedeas bond that was expected to be submitted for approval to the Court in the next few

 days. Mr. Barton could not provide any specific details about a potential bond and referred

 Plaintiff’s counsel to Mr. Schuman. Later that day, Plaintiff’s counsel emailed Mr. Schuman to

 ask for information about the supposedly arranged bond and requested a meet and confer about

 the bond particulars, including timing, amount, and parties for whom the bond is being posted.

 (Ex. D).

         On March 29, 2024, because Defendants had not responded to Plaintiff’s request for a meet

 and confer and still had not submitted a bond for the Court’s approval, Plaintiff again emailed

 Defendants requesting a meet and confer and gave Defendants notice that “If we don’t hear from

 you, TQ Delta will have to assume that the Defendants are unwilling to confer on these issues and

 we will so inform the Court at the appropriate time.” (Ex. D).

         On April 5, 2024, Defendants’ counsel, Mr. Andrew Ong, offered to meet and confer the

 following week to “discuss the bond/security issue,” but failed to indicate whether Defendants

 intended to seek a bond. (Ex. D). In response, Plaintiff’s counsel asked, “Do your clients intend to

 post a bond or not?” and to confer immediately. Neither Mr. Ong, Mr. Schuman, nor any other of

 Defendants’ counsel provided a response until the parties finally held a meet and confer phone call

 on April 9, 2024. Id.

         During the parties’ April 9, 2024 meet and confer phone call, Defendants’ counsel

 reiterated Defendants’ disagreement with the amount of the judgment as calculated by Plaintiff



 5
  Mr. Schuman and Goodwin Procter LLP filed the Defendants’ Notice of Appeal. (Dkt. No. 575)
 and remains the Defendants’ counsel in this case and in its appeal. It is unclear to Plaintiff if Mr.
 Schuman and Goodwin Procter LLP also represent non-party Vantiva.


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 and informed Plaintiff for the first time that, instead of posting a supersedeas bond, the Defendants

 intended to put money into an escrow account. When asked who the Defendants proposed as an

 escrow agent, Defendants’ counsel could not provide that information. When asked why the

 Defendants were not seeking a bond, the response was that the Defendants believed that the fee

 for obtaining a bond was unacceptable. The Defendants’ counsel did not provide any information

 regarding whether Defendants ever actually sought a bond from a bonding company (and, if so,

 when they began that process), whether Defendants were unable to obtain a bond (and if denied a

 bond, the reasons for the denial), the amount of the fee for a bond that was allegedly unacceptable

 to Defendants, and whether Defendants had even started the process of identifying an escrow

 agent. The parties reached an impasse given that it was clear that Defendants had no intention of

 posting a bond, disputed the amount of the judgment, and, despite satisfaction of the judgment or

 posting of a bond being long past due, had no concrete plans for any adequate security.

         Plaintiff files this motion because, as of the date of the instant filing, April 9, 2024, no

 bond or other adequate security has been submitted by Defendants for the Court’s approval.

                                        II. APPLICABLE LAW

 A.      Enforcing a Judgment via Writ of Execution

         Rule 69 of the Federal Rules of Civil Procedure provides:

         A money judgment is enforced by a writ of execution, unless the court directs
         otherwise. The procedure on execution—and in proceedings supplementary to and
         in aid of judgment or execution—must accord with the procedure of the state where
         the court is located, but a federal statute governs to the extent it applies.

 FED. R. CIV. P. 69(a)(1); see also Hewlett-Packard Co. v. Quanta Storage, Inc., 961 F.3d 731,

 735 (5th Cir. 2020) (“The federal rules provide judgment creditors the enforcement tools available

 under the law of the state in which the court is located.”).

         Under Texas law, a judgment creditor “must seek enforcement of [a] judgment via writ of



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 execution.” Weyend v. Hubman Found., et al., Case No. 4:06-cv-00343-ALM, 2017 U.S. Dist.

 LEXIS 109943, at *3 (E.D. Tex. July 14, 2017). “Execution is a method of enforcing a judgment.”

 Id. (citing Tex. R. Civ. P. 621; In re Andrews, 239 F.3d 708, 711 (5th Cir. 2001)).

         Texas law explains that “[a] judgment creditor is entitled to aid from a court of appropriate

 jurisdiction through injunction or other means in order to reach property to obtain satisfaction on

 the judgment if the judgment debtor owns property, including present or future rights to property,

 that is not exempt from attachment, execution, or seizure for the satisfaction of liabilities.” Tex.

 Civ. Prac. & Rem. Code § 31.002(a). Among other things, “[t]he court may . . . order the judgment

 debtor to turn over nonexempt property that is in the debtor’s possession or is subject to the

 debtor’s control, together with all documents or records related to the property, to a designated

 sheriff or constable for execution.” Tex. Civ. Prac. & Rem. Code § 31.002(b)(1).

         The Texas Rules of Civil Procedure provide that “the clerk of court . . . shall issue the

 execution upon such judgment upon application of the successful party or his attorney after the

 expiration of thirty days from the time a final judgment is signed.” Tex. R. Civ. P. 627.

 B.      Stays on Execution of a Judgment

         Rule 62(a) of the Federal Rules of Civil Procedure provides that “execution on a judgment

 and proceedings to enforce it are stayed for 30 days after its entry, unless the court orders

 otherwise.” Fed. R. Civ. P. 62(a).

         Rule 62(b) of the Federal Rules of Civil Procedure provides that “[a]t any time after

 judgment is entered, a party may obtain a stay by providing a bond or other security. The stay takes

 effect when the court approves the bond or other security and remains in effect for the time

 specified in the bond or other security.” Fed. R. Civ. P. 62(b). “The text of the rule does not provide

 for a mandatory stay upon posting of a supersedeas bond, but courts, including this one, have




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 recognized that in an initial substantive appeal, ‘[a] party taking an appeal from the district court

 is entitled to a stay of any money judgment, ‘as a matter of right,’ upon posting a supersedeas bond

 sufficient to secure the judgment.’” Packet Intel. LLC v. NetScout Sys., Civ. No. 2:16-CV-00230-

 JRG, 2023 U.S. Dist. LEXIS 3533, *11 (E.D. Tex. Jan. 7, 2023) (quoting Mondis Tech., Ltd. v.

 Chimei Innolux Corp., Civ. No. 2:11-cv-378-JRG, 2012 U.S. Dist. LEXIS 60004, at *23 (E.D.

 Tex. Apr. 30, 2012). “Thereafter, the Court has discretion to grant a stay or to order enforcement

 on a judgment, even where additional appeals may be pending.” Id. (citing Beatrice Foods Co. v.

 New England Printing & Lithographing Co., 930 F.2d 1572 (Fed. Cir. 1991)).

                                           III. ARGUMENT

         Plaintiff requests the issuance of a writ of execution in accordance with federal and state

 law. Rule 69 of the Federal Rules of Civil Procedure provides that a money judgment is to be

 enforced by a writ of execution, and procedures in connection with the same and are to be in accord

 with the procedure of the state where the court is located. Under Texas law, a judgment creditor

 “must seek enforcement of [a] judgment via writ of execution.” Weyend v. Hubman Found., et al.,

 Case No. 4:06-cv-00343-ALM, 2017 U.S. Dist. LEXIS 109943, at *3 (E.D. Tex. July 14, 2017).

 “Execution is a method of enforcing a judgment.” Id. (citing Tex. R. Civ. P. 621; In re Andrews,

 239 F.3d 708, 711 (5th Cir. 2001)).

         The Defendants have not submitted for this Court’s approval a supersedeas bond sufficient

 to secure the Judgment, pursuant to Local Rule Cv-62, that is necessary to obtain a stay of

 execution of the Judgment pending appeal. See Packet Intel. LLC, at *11. Moreover, Defendants

 have confirmed that they will not post a bond, which is required to stay execution of the Judgment.

 Instead, Defendants have attempted to shift their liability for the Judgment onto non-party Vantiva

 by telling Plaintiff that Vantiva should be responsible for the Judgment while doing nothing to




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  ensure that Vantiva takes on that responsibility or does so in a way that would satisfy Plaintiff or

  this Court.

          By representing to Plaintiff in their December 13, 2023 letter that “the pending

  [CommScope-Vantiva] transaction is in no way an attempt to prevent recovery of the Judgment,”

  it would be fair for the Court to hold the Defendants to their word and execute the Judgment against

  them. (Ex. E). It would be unfairly prejudicial to Plaintiff if the Defendants can avoid execution

  of the Judgment based on Defendants’ apparent refusal to obtain a bond because the fee (the

  amount of which Defendants did not disclose to the Plaintiff) for obtaining a bond is allegedly

  unacceptable to the Defendants. The Defendants had ample opportunity to avoid the necessity of

  this motion. It is time for the Court to give the Defendants that which they have accepted the risk

  of happening by failing to obtain a bond to stay execution of the Judgment, and that is for this

  Court to issue a writ of execution.

          Accordingly, Plaintiff requests that the Court issue a Writ of Execution to satisfy the above

  debt, which has yet to be paid by Defendants.

                                          IV.     CONCLUSION

          Pursuant to Federal Rule of Civil Procedure 69(a) and Texas law, Plaintiff TQ Delta, LLC.,

  requests issuance of a Writ of Execution against Defendants CommScope Holding Company, Inc.,

  CommScope, Inc., Arris US Holdings, Inc., Arris Solutions, Inc., Arris Technology, Inc., and Arris

  Enterprises, LLC. TQ Delta attaches a proposed order, which includes its proposed Writ of

  Execution.6 TQ Delta has also included a Writ of Execution in the form that complies with Form

  DC 11, which is available on the Court’s website. See https://txed.uscourts.gov/?q=forms/civil.



  6
    Plaintiff requests that the Court modify (if appropriate) the writ to reflect the amount due and
  owing as of the date the writ is issued by the Court to account for the accrual of post-judgment
  interest pursuant to 28 U.S.C. § 1961.


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  Dated: April 9, 2024                                     Respectfully submitted,


                                                           By:     __/s/ Peter J. McAndrews_________

                                                                   Peter J. McAndrews
                                                                   (Pro hac vice)
                                                                   pmcandrews@mcandrews-ip.com

                                                                   Rajendra A. Chiplunkar
                                                                   (Pro hac vice)
                                                                   rchiplunkar@mcandrews-ip.com

                                                                   David Z. Petty
                                                                   (Pro hac vice)
                                                                   dpetty@mcandrews-ip.com

                                                                   MCANDREWS, HELD & MALLOY,
                                                                   LTD.
                                                                   500 West Madison St., 34th Floor
                                                                   Chicago, IL 60661
                                                                   Telephone: (312) 775-8000
                                                                   Facsimile: (312) 775-8100


                                                                   Edward K. Chin
                                                                   ed@brusterpllc.com
                                                                   Texas Bar No. 50511688

                                                                   Anthony K. Bruster
                                                                   akbruster@brusterpllc.com
                                                                   Texas Bar No. 24036280

                                                                   Andrew J. Wright
                                                                   andrew@brusterpllc.com
                                                                   Texas Bar No.24063927

                                                                   Shawn A. Latchford
                                                                   shawn@brusterpllc.com
                                                                   Texas Bar No. 24066603

                                                                   BRUSTER PLLC
                                                                   680 N. Carroll Ave., Suite 110
                                                                   Southlake, TX 76092



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                                                                   (817) 601-9564 – Telephone


                                                                   ATTORNEYS FOR PLAINTIFF
                                                                   TQ DELTA, LLC


                                     CERTIFICATE OF SERVICE

          The undersigned certifies that the foregoing document is being filed electronically in

  compliance with Local Rule CV-5(a). As such, this document is being served this April 9, 2024

  on all counsel of record, each of whom is deemed to have consented to electronic service. L.R.

  CV-5(a)(3)(A). Pursuant to Federal Rule of Civil Procedure 5(d) and Local Rule CV-5(d) and (e),

  any counsel of record not deemed to have consented to electronic service will be served with a true

  and correct copy of the foregoing by email on this 9th day of April, 2024.



                                                                   /s/ Peter J. McAndrews_________
                                                                   Peter J. McAndrews



                                 CERTIFICATE OF CONFERENCE

          The undersigned hereby certifies that on April 9, 2024, Plaintiff’s counsel (Peter

  McAndrews, Edward Chin) conferred by phone with Defendants’ counsel (Andrew Ong, Ross

  Barton, Craig Lytle) to discuss the subject and relief requested in Plaintiff’s motion (e.g., issuance

  of a writ of execution against the Defendants). The parties agreed that they have reached an

  impasse. The Defendants oppose Plaintiff’s motion.


                                                                   /s/ Peter J. McAndrews_________
                                                                   Peter J. McAndrews




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